Case 3:19-cv-00069-NKM Document 7 Filed 02/24/20 Page 1 of 3 Pageid#: 45

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                           UNITED STATESDISTRICT COURT                            FEB 2# 2222
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                                 cuAlu- STRI
                                      orrEsvlCT OFvl
                                             LfEDl VI RGINIA
                                                   slox                         JU l .D DLEY LE
                                                                               BY;


  CEDRICK DR APER,
                                                       CASEN O.3:19-cv-00069
                                 Plaintf
                                                       ORDER

  GB LLHOLDm GS,LLC /d/b/a
  GO PUFF,                                             JUDGENORMAN K .M ooN

                               Defendants.

      Thism atterisbeforethe Courton PlaintiffCedrick Draper'sm otionto reconsiderorvacate

theMemorandum OpinionandOrderofNovember15,2019(Conrad,J.)(Dk1s.3-4),whichhad
dezliedèlaintiffsmotionforleavetoproceedinformapauperisC% P'')andhiscomplaintwithout
prejudice.'Dld.5.PlaintiffisafrequentproselitigantintllisdisG ct,whoselitigiousbehavior
resulted'intheissuanceofaprefilinginjunctionorderbyanotherjudgeoftMsdistrict.Draperv.
Muy Pizza SoutheastLLC d/b/aPizza Hut,No.4:18-cv-13,Dkt.14 (W .D.Va.Apr.27,2018)
(Kiser,J.).Forthefollowingreasons,PlaintiT smotionwillbedenied.
      Plaintif doesnotspecify the ruleupon wllich he is seeking reconsideration,so the Court

willconstmehismotionasamotiontoalteroramendthejudgmentpuisuanttoRule59(e)ofthe
FederalRulesofCivilProcedure.ReliefunderRule59(e)çtisanextraordinaryremedythatshould
beappliedsparingy ''Mayheldv.Nat'
                                lAss'nforStockCarAutoRacing,Inc.,674F.3d369,378
(4thCir.2012).A Rule59(e)motionGGmayonlybegrantedinthreesituations:(1)toaccommodate



       *On January 10, 2020,this case was transfen'
                                                  ed to thisCourtforrbsolution ofPlaintiffs
m otion and any furtherproceedings.Dld.6.
Case 3:19-cv-00069-NKM Document 7 Filed 02/24/20 Page 2 of 3 Pageid#: 46



          '   .                                        .          '   .

aninterveningchangeincontrollinglaw;(2)toaccountfornew evidçncenotavailableattrial;or
(3)to correotaclearerroroflaw orpreventmanifestinjustice.''Id.,(internalquotation marks
                  '                                                       .



omitted).Plaintiffsmotionforreconsiderationdoesnotprpvideanybasisata1lforrevisitingthe
v otmdsfordismissalsetforth inthepriorM emorandum Opiniondismissingthecomplaint,much

lessdoesPlaintiffsatisfyanyofthethreegroundsinRule59(e)requiredtodemonstratethatthis
G:extraordinary rem edy''isw arranted.

       Plaintiff appears to argue thathis IF'P decision should have been granted because he is

indigentandhisapplicationhadGGstateldl(the)tnlth''abouthisGiabilitytopaycourtfees.''Dld.5
!!2,5.ButasthepriorM emorandllm Opirlionexplained,Plaintiffhasbeenenjoinedforaperiod
oftwoyearsbeginningApril27,2018GGfrom pröceedinginformapauperisintllisdisGctin any
future m atter excepthabeas corpus cases and cases over which the federal courtarguably has

subjectmatterjurisdictioninvolvingclaimsofimminentdangerofseriousbodilyinjury.''Dkt.3
at2 (quotingDrapekv.Muy PizzaSoutheastLLC,No.4:18-cw 13,Dkt.14(W.D.Va.Apr.27,
2018)(Kiser,J.),appealdismissed,No.18-1545(4th Cir.Oct.10,2018:.Tllisaction doesnot
fallwithineitherexceptiontotheprefilinginjtmction,andPlaintiffprovidesnovalidgroundsto
reconsiderdenialofPlaintiff'sI'
                              FP status.

       Plaintiffscomplaintwasdismissedforlack ofsubjectmatterjurisdiction.First,Plaintiff
Gdlid)notciteanyfederalstatmoryorconstitutionalprovisionthatmightsupporttheexerciséof
jurisdictionunder(28U.S.C.j13311,'5andnofederalquestipncouldbediscernedfrom Plaintiff's
sparseallegations.Dkt. 3 at3.Second,the allegations in the com plaintfailed to dem onskate that
                      .




therequirementsofdiversityjudsdictionweremet:theydidnotshow therewascompletediversity
of citizenship be> een the parties,nor did they show thattlze nm otmt in coptroversy w as over    .




$75,000.Id.at3-4.Plaintiffappearsto challengethattheearlierM emurandum Opinion asGfnot
Case 3:19-cv-00069-NKM Document 7 Filed 02/24/20 Page 3 of 3 Pageid#: 47




specitk ''to the cpntractat issue in his com plaint,and Plaintiff appears to argue thatthe court

shouldhavet:assistled)(inlretrievalofcontract.''Dkt.5!!3-4.Butnothinginthesearguments
orin themotionforreconsideration addressesthelackofsubjectmatterjudsdiction,much less
doesitprovideanybasistorevisitthedeterminationsthatthecomplaintfailedtoallegetieréwas
afederalquestionordiversityjurisdiction.
       Plaintit smotionforreconsiderationisDENIED.
       Itisso O RD EQED .

       Theclerk ofCourtisherebydiiectedto send acopy ofthisOrdertoPlaintiff

      ENTEkEDthis&
                 '.1 dayofFebruary,2020.
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